50 F.3d 21
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Norman L. GIFFEN, Clair Rose Guyatt, Mary L. Hastings, MaryAnn Hygelund and Carol Jane Weis, Plaintiffs-Appellees,v.The UNITED STATES, Defendant-Appellant,andThe Hoopa Valley Tribe of Indians, Defendant-Appellee.
    No. 93-5194.
    United States Court of Appeals, Federal Circuit.
    March 22, 1995.
    
      Before MAYER, MICHEL and RADER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The United States appeals a judgment of the United States Court of Federal Claims, No. 746-85L (July 29, 1993), ordering the United States to pay the appellees certain sums plus interest.  The appellees are five American Indians who filed suit in the United States Claims Court on December 19, 1985, seeking damages from the United States for its failure to include them in per capita distributions from the proceeds of the Hoopa Valley Reservation in California.
    
    
      2
      We affirm on the basis of Short v. United States, No. 93-5193 (Fed.Cir. Mar. 14, 1995).
    
    
      3
      MICHEL, Circuit Judge, dissenting.
    
    
      4
      Adhering to my view that no statute authorizes an award of prejudgment interest in this case, Short v. United States, No. 93-5193, slip op. at 23-25 (Fed.Cir. Mar. 14, 1995) (Michel, J., dissenting), I respectfully dissent.
    
    